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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
 Lordstown Motors Corp, et al.,1
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 922



  CERTIFICATE OF NO OBJECTION REGARDING DEBTORS’ SECOND MOTION
   FOR ENTRY OF AN ORDER EXTENDING THE DEADLINE BY WHICH THE
           DEBTORS MAY FILE NOTICES TO REMOVE ACTIONS

          The undesigned hereby certifies that, as of the date hereof, no answer, objection, or any

responsive pleading to the Debtors’ Second Motion for Entry of an Order Extending the Deadline

by Which the Debtors May File Notices to Remove Actions [Docket No. 922] (the “Motion”) filed

by the debtors and debtors in possession in the above-captioned cases (collectively, the “Debtors”)

with the United States Bankruptcy Court for the District of Delaware (the “Court”) on January

19, 2024.

          The undersigned further certifies that they have reviewed the Court’s docket in these cases

and no answer, objection, or other responsive pleading to the Motion appears thereon. Pursuant

to the Notice of Motion and Hearing filed contemporaneously with the Motion, responses to the

Motion were to be filed no later than 4:00 p.m. (Eastern Daylight Time) on February 2, 2024 (the

“Objection Deadline”). The Debtors therefore respectfully request that the proposed form of

order attached hereto as Exhibit A, which is materially in the same form filed with the Motion, be

entered at the earliest convenience of the Court.



          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Dated: February 5, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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